             Case 18-30150 Document 9 Filed in TXSB on 01/26/18 Page 1 of 3



                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

IN RE:                                                          §
                                                                §
TRIAD WELL SERVICE, LLC                                         §     CASE NO. 18-30150
                                                                §
  DEBTOR                                                        §     CHAPTER 11


                          DISCLOSURE OF COMPENSATION PURSUANT TO
                           11 U.S.C. § 329 AND BANKRUPTCY RULE 2016 (B)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Pursuant to 11 U.S.C. § 329 and Bankruptcy Rule 2016 (b), the law firm of Fuqua &

Associates, PC, Counsel for the above-captioned Debtor makes, this its statement, setting forth the

compensation paid or agreed to be paid to it for services rendered or to be rendered by Fuqua &

Associates, PC in contemplation of and in connection with the above-entitled and numbered

bankruptcy case, and the service of such compensation.

                                                                I.

          At the present time, the Firm charges the following billing rates:

          Richard L. Fuqua, Attorney-in-Charge                        $500.00 an hour
          Mary Ann Bartee, Associate                                  $250.00 an hour
          Michael L. Fuqua, Associate                                 $225.00 an hour
          T.J. O’Dowd, Legal Assistant                                $95.00 an hour


                                                                II.

          On October 26, 2017, this Firm received a deposit of Five Thousand and No/100 Dollars

($5,000.00) for services and costs to be incurred by Fuqua & Associates, PC in general

debtor/creditor representation of Triad Well Service, LLC, the Debtor herein.


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             Case 18-30150 Document 9 Filed in TXSB on 01/26/18 Page 2 of 3



          On November 9, 2017, this Firm received an additional payment of Five Thousand and

No/100 Dollars ($5,000.00) for services and costs to be incurred by Fuqua & Associates, PC in

general debtor/creditor representation of Triad Well Service, LLC, the Debtor herein.

          On December 8, 2017, this Firm received an additional payment Five Thousand and No/100

Dollars ($5,000.00) for services and costs to be incurred by Fuqua & Associates, PC in general

debtor/creditor representation of Triad Well Service, LLC, the Debtor herein.

          On January 12, 2018, this Firm received an additional payment of Twenty Two Thousand

Six Hundred Sixty Six and 60/100 Dollars ($22,666.60) for services and costs incurred by Fuqua &

Associates, PC in general debtor/creditor representation of Triad Well Service, LLC, the Debtor

herein.

          On the date of filing, the Debtor had a retainer on hand at Fuqua & Associates, PC of

$17,500.00 for services and costs to be incurred by Fuqua & Associates, PC on behalf of the Debtor.



                                                                III.

          The Debtor has promised to pay the Firm on an hourly fee basis for all legal services rendered

and to be rendered and all legal expenses incurred and to be incurred in connection with this Chapter

11 Bankruptcy Case. The Firm will be paid pursuant to the appropriate Orders of this Bankruptcy

Court approving compensation awards and expense reimbursements under 11 U.S.C. §§ 330 and

331.

                                                                IV.

          The Firm has not agreed, either directly or indirectly to share any compensation which it may

receive on account of representation of the interests of the Debtor with any other person.


F:\001_Clients\Triad Well Service\Disclosure compensation.wpd                                   Page 2
             Case 18-30150 Document 9 Filed in TXSB on 01/26/18 Page 3 of 3



          Respectfully submitted this 26th day of January, 2018.

                                                                Respectfully submitted,

                                                                FUQUA & ASSOCIATES, PC

                                                    By:           /s/ Richard L. Fuqua
                                                                Richard L. Fuqua
                                                                Texas Bar No. 07552300
                                                                5005 Riverway, Suite 250
                                                                Houston, Texas 77056
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                                                                COUNSEL FOR DEBTOR




F:\001_Clients\Triad Well Service\Disclosure compensation.wpd                              Page 3
